                       UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

JAMES JILEK, on behalf of himself                      )
and all others similarly situated,                     )
                                                       )
                       Plaintiff,                      )
                                                       )       Case No. 3:23-cv-00818-RJC DCK
       v.                                              )
                                                       )
COMPASS GROUP USA, INC., D/B/A                         )
CANTEEN,                                               )
                                                       )
                       Defendant.                      )
   PLAINTIFFS JAMES JILEK’S, BRIAN BALDWIN’S AND ANDRES BORRERO’S
                  MOTION FOR CLASS CERTIFICATION

   Pursuant to Fed. R. Civ. P, 23, Plaintiffs James Jilek, Andres Borrero and Brian Baldwin

hereby move for certification of the following class and subclasses:

   Class:

       All persons or entities who, within the applicable statute of limitations preceding the
       filing of this lawsuit to the date of class certification, purchased an item from a
       vending machine owned or operated by Compass Group USA, Inc., in the United
       States with a credit, debit or prepaid card and were charged an amount in excess of
       the price displayed for that item on the vending machine, excluding purchases from
       (1) machines with a cash discount sticker (a label informing the consumer that the
       displayed price is the cash price, which is ten cents lower than the price they will be
       charged if they use a credit/debit/prepaid card), (2) machines with a digital shopping
       cart (a screen that displays both the cash and credit price), or (3) machines that only
       accept credit, debit and/or prepaid cards

   California Subclass:

       All persons who, within the applicable statute of limitations preceding the filing
       of this lawsuit to the date of class certification, purchased an item from a vending
       machine owned or operated by Compass Group USA, Inc, in California using a
       credit, debit or prepaid card and who were charged an amount in excess of the
       price displayed for that item, excluding purchases from (1) machines with a cash
       discount sticker (a label informing the consumer that the displayed price is the
       cash price, which is ten cents lower than the price they will be charged if they use
       a credit/debit/prepaid card), (2) machines with a digital shopping cart (a screen




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        that displays both the cash and credit price), or (3) machines that only accept
        credit, debit and/or prepaid cards.

    Florida Subclass:

        All persons who, within the applicable statute of limitations preceding the filing
        of this lawsuit to the date of class certification, purchased an item from a vending
        machine owned or operated by Compass Group USA, Inc, in Florida using a
        credit, debit or prepaid card and who were charged an amount in excess of the
        price displayed for that item, excluding purchases from (1) machines with a cash
        discount sticker (a label informing the consumer that the displayed price is the
        cash price, which is ten cents lower than the price they will be charged if they use
        a credit/debit/prepaid card), (2) machines with a digital shopping cart (a screen
        that displays both the cash and credit price), or (3) machines that only accept
        credit, debit and/or prepaid cards.

    South Carolina Subclass:

        All persons who, within the applicable statute of limitations preceding the filing
        of this lawsuit to the date of class certification, purchased an item from a vending
        machine owned or operated by Compass Group USA, Inc, in South Carolina
        using a credit, debit or prepaid card and who were charged an amount in excess of
        the price displayed for that item, excluding purchases from (1) machines with a
        cash discount sticker (a label informing the consumer that the displayed price is
        the cash price, which is ten cents lower than the price they will be charged if they
        use a credit/debit/prepaid card), (2) machines with a digital shopping cart (a
        screen that displays both the cash and credit price), or (3) machines that only
        accept credit, debit and/or prepaid cards.

    Excluded from the Class and Subclasses are Defendant, its employees, and employees of any

subsidiary, affiliate, successors, or assignees of Defendant, as well as the trial judge presiding over

this case.

    Plaintiffs ask that the Class and California, Florida and South Carolina Subclasses be certified

with respect to the claim for breach of contract (Count I).

    Plaintiffs also ask that they be be designated as Class Representatives for the Class and that

James Jilek be designated as California Subclass Representative, Andres Borrero be designated as

Florida Subclass Representative, and that Brian Baldwin be designated as South Carolina Subclass

Representative, and that the undersigned attorneys be appointed Class Counsel.

    In support of this motion, Plaintiffs submit the accompanying memorandum and exhibits filed

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therewith, and the Court’s file in this matter.


Dated: March 8, 2024                                  GOLDENBERG HELLER &
                                                      ANTOGNOLI, P.C.

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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 8, 2024, the foregoing served upon all counsel of record
via electronic mail.


                                                    /s/ Richard S. Cornfeld




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